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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                            Case No. 18-cv-60243-BLOOM/Valle

 JIBRAEL HINDI,

        Plaintiff,

 v.

 FROST-ARNETT COMPANY,

       Defendant.
 ________________________________________/

                                          ORDER

        THIS CAUSE is before the Court upon a sua sponte review of the record.          It is

 ORDERED AND ADJUDGED that Defendant’s Motion to Dismiss Plaintiff’s First Amended

 Complaint, ECF No. [19], is SET for hearing on Thursday, April 26, 2018 at 10:00 a.m. at the

 United States Courthouse located at 400 North Miami Avenue, Miami, Florida 33128,

 Courtroom 10-2.

        DONE AND ORDERED in Miami, Florida, this 12th day of April, 2018.




                                                     _________________________________
                                                     BETH BLOOM
                                                     UNITED STATES DISTRICT JUDGE


 Copies to:

 Counsel of Record
